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 6
                                 UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9
      DEIRDRE P. MARSH-GIRARDI,                   Case No.
10
                        Plaintiff,                COMPLAINT FOR DAMAGES
11
            v.                                    1. VIOLATION OF THE FAIR DEBT
12                                                COLLECTION PRACTICES ACT, 15 U.S.C.
                                                  §1692 ET SEQ.
13    CLIENT RESOLUTION
      MANAGEMENT, LLC,                            2. VIOLATION OF THE TELEPHONE
14                                                CONSUMER PROTECTION ACT, 47 U.S.C.
                        Defendant.                §227 ET SEQ.
15
                                                  3. VIOLATION OF THE ROSENTHAL FAIR
16                                                DEBT COLLECTION PRACTICES ACT,
                                                  CAL. CIV. CODE §1788 ET SEQ.
17
                                                  DEMAND FOR JURY TRIAL
18

19
                                             COMPLAINT
20
           NOW comes DEIRDRE P. MARSH-GIRARDI (“Plaintiff”), by and through her attorneys,
21

22   WAJDA LAW GROUP, APC (“Wajda”), complaining as to the conduct of CLIENT

23   RESOLUTION MANAGEMENT, LLC (“Defendant”), as follows:
24                                      NATURE OF THE ACTION
25      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
26
     (“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)
27

28
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 1   under 47 U.S.C. §227 et seq., and the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”)
 2   pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
 3
                                               JURISDICTION AND VENUE
 4
           2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter
 5
     jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331 and
 6

 7   1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists for

 8   the state law claim pursuant to 28 U.S.C. §1367 because it arises out of the common nucleus of

 9   operative facts of Plaintiff’s federal questions claims.
10
           3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
11
     in the Eastern District of California and a substantial portion the events or omissions giving rise to
12
     the claims occurred within the Eastern District of California.
13
                                                         PARTIES
14

15         4. Plaintiff is a 56 year-old consumer residing in Stockton, California, which is located within

16   the Eastern District of California.
17         5. Plaintiff is a “person,” as defined by 47 U.S.C. §153(39).
18
           6. Defendant is a debt collection agency that “offers consumers the ability to work with [their]
19
     team of experienced professionals.” 1 Defendant is a limited liability company organized under the
20
     laws of the state of New York with its principal place of business located at 1675 Niagara Street,
21

22   Buffalo, New York.

23         7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

24         8. Defendant acted through its agents, employees, officers, members, directors, heirs,
25   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
26
     relevant to the instant action.
27

28   1
         http://www.clientresolutionmanagementllc.com/
                                                            2
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 1                                 FACTS SUPPORTING CAUSES OF ACTION
 2      9.   The instant action arises out of Defendant’s attempts to collect upon a consumer debt
 3
     (“subject debt”) said to be owed by Plaintiff.
 4
        10. The subject debt stems from a personal installment loan Plaintiff took out through
 5
     Personify Financial (“Personify”).
 6

 7      11. Upon information and belief, after Plaintiff defaulted on her obligation to Personify, the

 8   subject debt was assigned to or otherwise turned over to Defendant for collection.

 9      12. In approximately the summer of 2019, Plaintiff started getting calls to her cellular phone,
10
     (209) XXX-1879, from Defendant.
11
        13. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
12
     operator of the cellular phone ending in -1879. Plaintiff is and always has been financially
13
     responsible for the cellular phone and its services.
14

15      14. Defendant has mainly used the phone number (916) 796-4912 when placing collection

16   calls to Plaintiff, but upon belief, it has used other numbers as well.
17      15. Upon information and belief, the above-referenced phone number is regularly utilized by
18
     Defendant during its debt collection activity.
19
        16. Upon answering phone calls from Defendant, Plaintiff has experienced a significant pause,
20
     lasting several seconds in length, before being connected with a live representative.
21

22      17. Upon speaking with Defendant, Plaintiff was advised that it was calling to collect upon the

23   subject debt.

24      18. Plaintiff informed Defendant that she was in the process of filing for bankruptcy.
25      19. Notwithstanding this information, Defendant continued contacting Plaintiff.
26
        20. Defendant’s phone calls became so bothersome that, in approximately August 2019,
27
     Plaintiff demanded that Defendant stop contacting her cellular phone.
28
                                                         3
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 1       21. Despite Plaintiff’s demands, Defendant continued to place phone calls to Plaintiff’s
 2   cellular phone seeking collection of the subject debt up until the filing of the instant action.
 3
         22. In addition to receiving calls on her cellular phone, Defendant has also placed several
 4
     phone calls to Plaintiff on her work phone.
 5
         23. Plaintiff demanded that Defendant stop contacting this number as it is her work phone, but
 6

 7   Defendant continued placing calls to Plaintiff’s work phone notwithstanding her demands.

 8       24. Plaintiff has received not less than 25 phone calls from Defendant since asking it to stop

 9   calling.
10
         25. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding her rights,
11
      resulting in expenses.
12
         26. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.
13
         27. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
14

15    limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

16    distress, increased risk of personal injury resulting from the distraction caused by the never-ending
17    calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular
18
      phone functionality, decreased battery life on her cellular phone, diminished space for data storage
19
      on her cellular phone, and distractions at work as a result of Defendant placing calls to Plaintiff’s
20
      place of employment.
21

22
                COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
23
         28. Plaintiff repeats and realleges paragraphs 1 through 27 as though fully set forth herein.
24
         29. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
25
         30. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
26

27   use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

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 1      31. Defendant identifies itself as a debt collector, and is engaged in a business the principal
 2   purpose of which is collecting or attempting to collect, directly or indirectly, defaulted debts owed
 3
     or due or asserted to be owed or due to others.
 4
        32. The subject consumer debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a
 5
     transaction due or asserted to be owed or due to another for personal, family, or household purposes.
 6

 7          a. Violations of FDCPA §1692c and §1692d

 8      33. Pursuant to 15 U.S.C. § 1692c(a)(3), the FDCPA prohibits, absent prior consent of the

 9   consumer given directly to the debt collector, such debt collector from communicating with the
10
     consumer “at the consumer’s place of employment if the debt collector knows or has reason to
11
     know that the consumer’s employer prohibits the consumer from receiving such communication.”
12
        34. Defendant violated 15 U.S.C. § 1692c(a)(1) and c(a)(3) when it placed repeated phone calls
13
     to Plaintiff on her work phone after Plaintiff demanded that such calls stop. Defendant knew, and
14

15   had reason to know, that Plaintiff could not receive such calls by virtue of Plaintiff’s demands.

16   Notwithstanding these demands, Defendant continued placing calls to Plaintiff’s work phone, in
17   violation of the FDCPA.
18
        35. The FDCPA, pursuant to 15 U.S.C. §1692d, further prohibits a debt collector from
19
     engaging “in any conduct the natural consequence of which is to harass, oppress, or abuse any
20
     person in connection with the collection of a debt.” §1692d(5) further prohibits, “causing a
21

22   telephone to ring or engaging any person in telephone conversation repeatedly or continuously with

23   intent to annoy, abuse, or harass any person at the called number.”

24      36. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being
25   notified to stop. Defendant called Plaintiff at least 25 times after she demanded that it stop calling.
26
     This repeated behavior of systematically calling Plaintiff’s phone in spite of her demands was
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 1   harassing and abusive. The frequency and nature of calls shows that Defendant willfully ignored
 2   Plaintiff’s pleas with the goal of annoying and harassing her.
 3
        37. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant
 4
     knew that its conduct was inconvenient and harassing to her.
 5
             b. Violations of FDCPA § 1692e
 6

 7      38. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,

 8   deceptive, or misleading representation or means in connection with the collection of any debt.”

 9      39. In addition, this section enumerates specific violations, such as:
10              “The use of any false representation or deceptive means to collect or attempt to
                collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
11
                §1692e(10).
12
        40. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or attempt
13
     to collect the subject debt. Despite the fact that Plaintiff demanded that Defendant stop contacting
14
     her, Defendant continued to contact her relentlessly. Instead of putting an end to this harassing
15

16   behavior, Defendant placed repeated automated calls to Plaintiff’s cellular phone in a deceptive

17   attempt to force her to answer its calls and ultimately make a payment. Through its conduct,

18   Defendant misleadingly represented to Plaintiff that it had the legal ability to contact her after she
19
     demanded that it stop calling.
20
             c. Violations of FDCPA § 1692f
21
        41. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
22
     unconscionable means to collect or attempt to collect any debt.”
23

24      42. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

25   debt by continuously calling Plaintiff at least 25 times after being notified to stop. Attempting to
26   coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair
27

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                                                        6
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 1   and unconscionable behavior. These means employed by Defendant only served to worry and
 2   confuse Plaintiff.
 3
        43. As pled in paragraphs 25 through 27, Plaintiff has been harmed and suffered damages as a
 4
     result of Defendant’s illegal actions.
 5
        WHEREFORE, Plaintiff, DEIRDRE P. MARSH-GIRARDI, respectfully requests that this
 6

 7   Honorable Court enter judgment in her favor as follows:

 8      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned bodies of law;
 9
        b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
10
           §1692k(a)(2)(A);
11
        c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
12         under 15 U.S.C. §1692k(a)(1);

13      d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k(a)(3); and
14

15      e. Awarding any other relief as this Honorable Court deems just and appropriate.

16
               COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
17
        44. Plaintiff repeats and realleges paragraphs 1 through 43 as though fully set forth herein.
18
        45. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their
19

20   cellular phone using an automatic telephone dialing system (“ATDS”) or prerecorded messages

21   without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment
22   which has the capacity...to store or produce telephone numbers to be called, using a random or
23
     sequential number generator; and to dial such numbers.”
24
        46. Defendant used an ATDS in connection with its communications directed towards
25
     Plaintiff’s cellular phone. The significant pause, lasting several seconds in length, which Plaintiff
26

27   has experienced during answered calls is instructive that an ATDS was being utilized to generate

28   the phone calls. Additionally, Defendant continuing to contact Plaintiff after she demanded that the
                                                       7
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 1   phone calls stop further demonstrates Defendant’s use of an ATDS. Moreover, the nature and
 2   frequency of Defendant’s contacts points to the involvement of an ATDS.
 3
         47. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular phone
 4
     using an ATDS without her consent. Any consent that Plaintiff may have given to the originator of
 5
     the subject consumer debt, which Defendant will likely assert transferred down, was specifically
 6

 7   revoked by Plaintiff’s demands that it cease contacting her.

 8       48. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

 9   emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).
10
         49. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for
11
     at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
12
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise
13
     entitled to under 47 U.S.C. § 227(b)(3)(C).
14

15       WHEREFORE, Plaintiff, DEIRDRE P. MARSH-GIRARDI, respectfully requests that this

16   Honorable Court enter judgment in her favor as follows:
17       a. Declaring that the practices complained of herein are unlawful and violate the
            aforementioned statutes and regulations;
18

19       b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
            pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
20
         c. Awarding Plaintiff costs and reasonable attorney fees; and
21
         d. Awarding any other relief as this Honorable Court deems just and appropriate.
22

23         COUNT III – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT

24       50. Plaintiff restates and realleges paragraphs 1 through 49 as though fully set forth herein.

25       51. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).

26       52. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
27
     and (f).
28
                                                        8
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 1      53. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
 2            a. Violations of RFDCPA § 1788.10 – 1788.17
 3
        54. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
 4
     provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
 5
     comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the
 6

 7   remedies in Section 1692k of, Title 15 of the United States Code.”

 8      55. As outlined above, through its continuous attempts to collect upon the subject debt,

 9   Defendant violated 1788.17; and §§1692c, d, e, and f. Defendant engaged in a harassing, deceptive
10
     and unconscionable campaign to collect from Plaintiff, in violation of the RFDCPA.
11
        56. Defendant willfully and knowingly violated the RFDCPA through its egregious collection
12
     efforts. Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable
13
     Court’s ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ.
14

15   Code § 1788.30(b).

16      WHEREFORE, Plaintiff, DEIRDRE P. MARSH-GIRARDI, respectfully requests that this
17   Honorable Court enter judgment in her favor as follows:
18
        a. Declare that the practices complained of herein are unlawful and violate the aforementioned
19         statute;

20      b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
21      c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
           1788.30(b);
22

23      d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
           § 1788.30(c); and
24
        e. Award any other relief as the Honorable Court deems just and proper.
25

26      Dated: October 30, 2019                     Respectfully submitted,
27
                                                    By: /s/ Nicholas M. Wajda
28                                                  Nicholas M. Wajda
                                                        9
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